Case 5:23-bk-00215-MJC   Doc 17 Filed 03/21/23 Entered 03/21/23 11:56:27   Desc
                         Main Document     Page 1 of 5
Case 5:23-bk-00215-MJC   Doc 17 Filed 03/21/23 Entered 03/21/23 11:56:27   Desc
                         Main Document     Page 2 of 5
Case 5:23-bk-00215-MJC   Doc 17 Filed 03/21/23 Entered 03/21/23 11:56:27   Desc
                         Main Document     Page 3 of 5
Case 5:23-bk-00215-MJC   Doc 17 Filed 03/21/23 Entered 03/21/23 11:56:27   Desc
                         Main Document     Page 4 of 5
Case 5:23-bk-00215-MJC   Doc 17 Filed 03/21/23 Entered 03/21/23 11:56:27   Desc
                         Main Document     Page 5 of 5
